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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                              Case No.: 18-cv-5878

v.                                                               Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A of the Complaint.

               NO.                                  DEFENDANT
               293                                     dmyvoty
               579                       Shenzhen yufang Technology co.,ltd
               575                     Shenzhen Guoduping Technology co.,ltd
               195                                   abeautylady
               733                                    yoyo-good
               356                                     haobuhao
               266                                      Chiants
               512                                   OPUasgePIG
               671                                     wet dayy
               206                                       amuli
               358                                     hattman
               313                              Fahrenheitfishinggear
               455                                   Longtimeday
               535                                    Qingchuan
               394                                      jeplksx
   Case: 1:18-cv-05878 Document #: 67 Filed: 04/12/19 Page 2 of 2 PageID #:7516



              475                        MeiJiaDepartmentStorelivingroom
              494                              Modehardwaredailyuse
              710                                     Xuqupian
              630                                     Tgureang
              765                                   ZhouxingHai
              217                                     asrtgasw



DATED: April 12, 2019                              Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   1033 South Blvd., Suite 200
                                                   Oak Park, Illinois 60302
                                                   Telephone: 708-203-4787
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 12, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.




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